      Case 2:07-cr-02066-LRS    ECF No. 338    filed 02/24/14    PageID.1327 Page 1 of 2




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6
                                UNITED STATES DISTRICT COURT
7                              EASTERN DISTRICT OF WASHINGTON

8     UNITED STATES OF AMERICA,
9                                                  NO. CR-07-2063-LRS-1
                          Plaintiff,               NO. CR-07-2065-LRS
10                                                 NO. CR-07-2066-LRS-2
          v.                                       NO. CR-07-2114-LRS-1
11
      GLEN RAY BRIGGS,                             ORDER RE EXTENSION OF TIME AND
12                                                 APPOINTMENT OF COUNSEL
                          Defendant.
13

14
               BEFORE THE COURT, is Defendant Briggs’ request, in the form of a
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     letter1 to the Court, for an extension to file his 28 U.S.C. §2255
16
     petition and reconsideration of the order denying as moot the request for
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     appointment of counsel.         Mr. Briggs requests an extension of 3 - 6 months
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     to   file     his   petition2   based    on   extended      lock   downs   resulting   in
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     difficulties accessing the law library.                    The Court finds good cause
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22         1
               The Court construes Defendant’s letters as motions for an extension
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     of time and appointment of counsel, which motions were not properly
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     expedited nor noted under the Local Rules.
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           2
               The Mandate, affirming this Court’s decision, was filed on November
26
     9, 2012.

     ORDER - 1
      Case 2:07-cr-02066-LRS   ECF No. 338   filed 02/24/14   PageID.1328 Page 2 of 2




1    exists to grant an extension of 30 days.             The Court will be reluctant,
2    however, to grant any further extensions.
3         Accordingly,
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          IT IS HEREBY ORDERED:
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          1.     Defendant Glen Ray Briggs’ motions for reconsideration of an
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     extension of time and appointment of counsel, ECF Nos. 507, 211, 334, 417
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     filed February 11, 2014 in NO. CR-07-2063-LRS-1, NO. CR-07-2065-LRS, NO.
8
     CR-07-2066-LRS-2, and NO. CR-07-2114-LRS-1 respectively, are GRANTED in
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10   part and DENIED in part.       Mr. Briggs shall have until April 10, 2014 to

11   file his 28 U.S.C. §2255 petition(s).             The request for appointment of

12   counsel is, again, denied.       Generally, there is no constitutional right
13   to counsel in a civil case.       United States v. $292,888.04, 54 F.3d 564,
14   569 (9th Cir.1995). It does not appear exceptional circumstances exist
15   or that Mr. Briggs has any difficulty in articulating his claims.
16
          IT IS SO ORDERED.      The District Court Executive is directed to
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     enter this order and to provide copies to counsel and the Defendant
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     who is appearing pro se.
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          DATED this 24th      day of February, 2014.
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21
                                                        s/Lonny R. Suko
22                                             ___________________________________
                                                         LONNY R. SUKO
23                                             SENIOR UNITED STATES DISTRICT JUDGE

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     ORDER - 2
